                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA



CRUISE LINES INTERNATIONAL                   )
ASSOCIATION ALASKA and CRUISE                )
LINES INTERNATIONAL ASSOCIATION,             )
                                             )
                                 Plaintiffs, )
                                             )
      vs.                                    )
                                             )
THE CITY AND BOROUGH OF JUNEAU, )
ALASKA, a municipal corporation, and         )
RORIE WATT, in his official capacity as      )
City Manager,                                )
                                             )               No. 1:16-cv-0008-HRH
                                Defendants. )
_______________________________________)



                             JUDGMENT IN A CIVIL CASE

       By order of January 24, 2019,1 the court has ruled that a declaratory judgment be
entered, and that no issues remain unresolved. This is a final judgment based upon the

court’s order of December 6, 2018.2

       This action was decided by Judge H. Russel Holland on defendants’ motion to

determine law of the case and cross-motions for summary judgment.
                          First Cause of Action – Tonnage Clause
       Defendants’ marine passenger fee (MPF) ordinance, Sections 69.20.030 and -.040,

is not facially violative of the Tonnage Clause of the United States Constitution. Defendants’


       1
        Docket No. 216.
       2
        Docket No. 207.

JUDGMENT IN A CIVIL CASE                                                                 -1-


           Case 1:16-cv-00008-HRH Document 217 Filed 01/25/19 Page 1 of 3
port development fee (PDF) resolution is not facially violative of the Tonnage Clause of the
United States Constitution.

       The Tonnage Clause is violated by the imposition and expenditure of fees imposed
upon a vessel that do not reflect the reasonable costs of services provided to the vessel or for

services which, if called upon by a vessel, would further the marine enterprise. Fees imposed
and expended for the benefit of passengers carried by vessels violate the Tonnage Clause
unless the expenditures reflect reasonable costs of services to a vessel. Fees expended for
projects and expenses that constitute or are based upon the reasonable cost of services to a

vessel do not become unconstitutional under the Tonnage Clause because the services being
provided may also incidentally benefit the general public or vessel passengers. But, fees

imposed upon vessels but expended for services that benefit passengers only are

unconstitutional under the Tonnage Clause.
             Second Cause of Action – Rivers and Harbors Appropriation Act

       Defendants’ marine passenger fee (MPF) ordinance, Sections 69.20.030 and -.040,

is not facially violative of the Rivers and Harbors Appropriation Act (RHAA), 33 U.S.C.
§ 5(b). Defendants’ port development fee (PDF) resolution is not facially violative of the

RHAA.
       The RHAA prohibits fees imposed upon vessels except for those fees used solely to
pay the reasonable costs of service(s) to a vessel or enhance the safety and efficiency of

interstate and foreign commerce. Fees imposed and expended for the benefit of passengers
carried by vessels violate the RHAA unless the expenditures reflect reasonable costs of
services to a vessel. Fees expended for projects and expenses that constitute or are based

upon the reasonable cost of services to a vessel do not become unlawful under the RHAA
because the services being provided may also incidentally benefit the general public or vessel

JUDGMENT IN A CIVIL CASE                                                                   -2-


        Case 1:16-cv-00008-HRH Document 217 Filed 01/25/19 Page 2 of 3
passengers. But, fees imposed upon vessels but expended for services that benefit passengers
only are unlawful under the RHAA.

                        Third Cause of Action – Commerce Clause
       Based upon plaintiffs’ argument that it is unnecessary for the court to decide their U.S.

Constitution, Article I, Section 8, Clause 3, Commerce Clause claim, plaintiffs’ Commerce
Clause claim is dismissed without prejudice.
                       Fourth Cause of Action – Supremacy Clause
       Plaintiffs’ U.S. Constitution, Article VI, Clause 2, Supremacy Clause claim is

dismissed with prejudice as explained in the court’s order of December 6, 2018.3
       DATED at Anchorage, Alaska, this 25th day of January, 2019.

                                                   /s/ H. Russel Holland
                                                   United States District Judge




       3
       Order at 32-33, Docket No. 207.

JUDGMENT IN A CIVIL CASE                                                                   -3-


           Case 1:16-cv-00008-HRH Document 217 Filed 01/25/19 Page 3 of 3
